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                         THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

MICHIGAN URGENT CARE &                           )
PRIMARY CARE PHYSICIANS, P.C.,                   )
and BUSINESS HEALTH SOLUTIONS, P.C.              )
                                                 )
       Plaintiff,                                )
                                                 )
-vs-                                             )        Case No. 2:15-cv-11242-SJM-DRG
                                                 )
EDGE PHARMACY SERVICES, LLC,                     )
and JOHN DOES 1-10,                              )
                                                 )
       Defendants.                               )

               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter having come before the Court upon the stipulation of the parties,

through their undersigned counsel, and the Court being otherwise fully advised in

the premises;

       WHEREAS, the parties have negotiated a settlement, and pursuant to Fed R.

Civ. Proc. 41(a), hereby stipulate to the dismissal of Plaintiffs’ individual claims

with prejudice and without costs and the dismissal of Plaintiffs’ putative class

claims without prejudice and without costs.

SO ORDERED.

                           S/Stephen J. Murphy, III
                           Stephen J. Murphy, III
                           United States District Judge

Dated: June 30, 2015




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I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on June 30, 2015, by electronic and/or ordinary mail.

                             S/Carol Cohron
                             Case Manager


STIPULATED AND AGREED:

PLAINTIFFS                                         DEFENDANT

MICHIGAN URGENT CARE &                             EDGE PHARMACY SERVICES, LLC
PRIMARY CARE PHYSICIANS, P.C.
and BUSINESS HEALTH SOLUTIONS, P.C.

/s/ Daniel A. Edelman                              /s/ Erin M. Pawlowski
Daniel A. Edelman                                  Edward M. Pappas
Cathleen M. Combs                                  Erin M. Pawlowski
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